
936 So.2d 1214 (2006)
L.C.W., a Child, Appellant,
v.
STATE of Florida, Appellee.
No. 5D05-3370.
District Court of Appeal of Florida, Fifth District.
September 8, 2006.
James S. Purdy, Public Defender, and Brynn Newton, Assistant Public Defender, Daytona Beach, for Appellant.
Charles J. Crist, Jr., Attorney General, Tallahassee, and Rebecca Rock McGuigan, Assistant Attorney General, Daytona Beach, for Appellee.
SAWAYA, J.
L.C.W. appeals the order denying her motion to suppress and finding her in direct criminal contempt. We affirm the order denying the motion to suppress without further discussion.
We reverse the order of direct criminal contempt because the trial court did not hear the alleged contemptuous statement uttered by L.C.W., the comment did not obstruct or hinder the administration of justice, and the trial court failed to recite the facts upon which the finding of contempt was made. See Fla. R.Crim. P. 3.830 ("A criminal contempt may be punished summarily if the court saw or heard the conduct constituting the contempt committed in the actual presence of the court. The judgment of guilt of contempt shall include a recital of those facts on which the adjudication of guilt is based."); Hutcheson v. State, 903 So.2d 1060 (Fla. 5th DCA 2005). We note, parenthetically, that the State concedes this error.
AFFIRMED in part; REVERSED in part.
ORFINGER and LAWSON, JJ., concur.
